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 5 Attorneys for Defendant Erika Girardi

 6

 7
                                  UNITED STATES BANKRUPTCY COURT
 8
                  CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 9

10
     In re                                             Case No. 2:20-bk-21022-BR
11
     GIRARDI KEESE,                                    Chapter 7
12
                    Debtor.                            Adv No. 2:21-ap-01155-BR
13
                                                       JOINT STIPULATION AND [PROPOSED]
14 ELISSA D. MILLER, Chapter 7 Trustee,                ORDER RE 42 DAY CONTINUANCE OF
                                                       HEARING TO ALLOW FOR APPRAISAL
15                  Plaintiff,                         OF PROPERTY AND SETTLEMENT
                                                       DISCUSSIONS
16           v.
                                                       Current hearing:
17 ERIKA N. GIRARDI, an individual; EJ                 Date: May 17, 2022
   GLOBAL, LLC, a limited liability company;           Time: 2:00 p.m.
18 and PRETTY MESS, INC., a corporation,
                                                       Proposed continued hearing:
19                  Defendants.                        Date: June 28, 2022
                                                       Time: 2:00 p.m.
20
                                                       Judge:      Hon. Barry Russell
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                                   JOINT STIPULATION AND [PROPOSED] ORDER
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 1          Plaintiff Elissa D. Miller, Chapter 7 trustee (“Trustee”) and defendant Erika Girardi (“Ms.

 2 Girardi”) (collectively the “Parties”), by and through their undersigned counsel, and subject to the

 3 approval of this Court, enter into this Joint Stipulation and [Proposed] Order Re 42 Day Continuance

 4 of Hearing To Allow for Appraisal of Property and Settlement Discussions (“Stipulation”), based

 5 upon the following facts:

 6          A.      On July 14, 2021, the Trustee commenced the above-referenced adversary action

 7 against Ms. Girardi and other defendants (the "Adversary Action") [ECF Doc. 1];

 8          B.      On January 25, 2022, the Trustee filed in the Adversary Action a Notice of Motion

 9 and Motion for Order for Turnover of Personal Property [ECF Doc. 28], which seeks an Order

10 compelling the turnover by Ms. Girardi of certain diamond earrings (the “Earrings”) acquired in

11 approximately March 2007 (the “Earrings Motion”).

12          C.      On January 26, 2022, Ms. Girardi filed a Preliminary Opposition to the Earrings

13 Motion [ECF Doc. 31], arguing that the claims in the Earrings Motion are time-barred, affirming

14 her willingness to deposit the Earrings into an escrow subject to a mutual reservation of rights and

15 pending a final court order, and requesting a continuance of the hearing date to be able to conduct

16 discovery into the underlying facts prior to a decision on the Earrings Motion.

17          D.      On February 1, 2022, the parties filed a prior Joint Stipulation and [Proposed]

18 Order Re: (1) Holding Disputed Property In Trust Subject to Mutual Reservation of Rights and

19 Pending Final Court Order; and (2) Continuance of Hearing to Allow for Discovery [ECF Doc.

20 36] (the “Prior Stipulation”), which the Court approved [ECF Doc. 37], setting the hearing on the

21 Earrings Motion for 2 p.m. on May 17, 2022.

22          E.      Since the time of the Prior Stipulation, the parties by agreement have placed the

23 earrings in a safe deposit box, and have agreed to a process for appraisal of the earrings. The

24 appraisal has not been completed. The parties also have been engaged in settlement discussions,

25 including an in-person meeting and several discussions between counsel.

26          F.      The parties have agreed that, subject to this Court’s approval, to allow time for the

27 appraisal to be completed and to permit the parties to determine whether a mutually-agreeable

28 settlement can be reached, the current May 17, 2022 hearing date on the Earrings Motion should

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 1 be continued for a period of approximately 42 days to June 28, 2022, at 2 p.m., or to the next

 2 available date on the Court’s calendar.

 3                                           STIPULATION

 4          1.     The terms of this Stipulation are subject to an order of this Court approving same.

 5          2.     To allow time for the appraisal to be completed and to permit the parties to

 6 determine whether a mutually-agreeable settlement can be reached, the current May 17, 2022

 7 hearing date on the Earrings Motion should be continued for a period of approximately 42 days to

 8 June 28, 2022, at 2 p.m., or to the next convenient date thereafter on the Court’s calendar (the

 9 “Continued Hearing Date”).

10          3.     Ms. Girardi shall have the right to file a supplemental Opposition to the Earrings

11 Motion, which must be filed and served at least 14 calendar days prior to the Continued Hearing

12 Date. The Trustee’s reply papers, if any, shall be filed and served 7 calendar days prior to the

13 Continued Hearing Date.

14          IT IS SO STIPULATED.
15

16 DATED: May 2, 2022                          SMILEY WANG-EKVALL, LLP

17
                                               By:
18
                                                   Philip E. Strok
19                                                 Kyra E. Andrassy
                                                   Timothy W. Evanston
20                                                 Attorneys for Elissa D. Miller, Chapter 7 Trustee
21                                             JENKINS MULLIGAN & GABRIEL LLP
     DATED: May 2, 2022
22

23

24

25
                                               By:
26
                                                     Larry W. Gabriel
27                                                   Special Litigation Counsel to
                                                     Elissa D. Miller, Chapter 7 Trustee
28

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 1 DATED: May 2, 2022                           GREENBERG GROSS LLP

 2

 3
                                                By:
 4                                                    Evan C. Borges
                                                      Attorneys for Defendant Erika N. Girardi
 5

 6
                                                   ORDER
 7
            Pursuant to the foregoing Stipulation, and good cause appearing, the Court hereby
 8
     ORDERS that:
 9
            1.      The current May 17, 2022 hearing date on the Earrings Motion is hereby continued
10
     for a period of approximately 42 days to June 28, 2022, at 2:00 p.m. before this Court, or to such
11
     date thereafter that the Court now sets as _______________at __p.m./a.m. (the “Continued
12
     Hearing Date”).
13
            2.      Ms. Girardi shall have the right to file a supplemental Opposition to the Earrings
14
     Motion, which must be filed and served at least 14 calendar days prior to the Continued Hearing
15
     Date. The Trustee’s reply papers, if any, shall be filed and served 7 calendar days prior to the
16
     Continued Hearing Date.
17

18
     DATED: _______, 2022
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21                                                 Hon. Barry Russell
                                                   United States Bankruptcy Court Judge
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                                JOINT STIPULATION AND [PROPOSED] ORDER
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 1                             PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is:
 3
                                          650 Town Center Drive, Suite 1700
 4                                             Costa Mesa, CA 92626

 5   A true and correct copy of the foregoing document entitled (specify): JOINT
                                                    STIPULATION AND
   [PROPOSED] ORDER RE 42 DAY CONTINUANCE OF HEARING TO ALLOW FOR
 6 APPRAISAL OF PROPERTY AND SETTLEMENT DISCUSSIONS will be served or was served
     (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
 7   stated below:

 8   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
     controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 9   hyperlink to the document. On May 2, 2022, I checked the CM/ECF docket for this bankruptcy case or
     adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
10   receive NEF transmission at the email addresses stated below:

11
                                                                Service information continued on attached page
12
     2. SERVED BY UNITED STATES MAIL:
13   On May 2, 2022, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
14   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
15   document is filed.

16
                                                                Service information continued on attached page
17
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
18   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
     (date) ___________, I served the following persons and/or entities by personal delivery, overnight mail
19   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
20   mail to, the judge will be completed no later than 24 hours after the document is filed.

21
                                                                Service information continued on attached page
22
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
23
       May 2, 2022 Cheryl Winsten
24     Date                      Printed Name                   Signature

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26
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28

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 1                                    In re GIRARDI KEESE
                                     Case No. 2:20-bk-21022-BR
 2                 Elissa D. Miller. Chapter 7 Trustee v. Erika N. Girardi, et al.
                                     Case No. 2:21-ap-01155-BR
 3
     1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
 4
     The following is the list of parties who are currently on the list to receive email notice/service for
 5 this case.
 6      Ori S Blumenfeld       ori@marguliesfaithlaw.com,
 7            Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;
              Vicky@MarguliesFaithLaw.com
 8
             Evan C Borges      eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
 9
             Larry W Gabriel       lgabrielaw@outlook.com, tinadow17@gmail.com
10
             Daniel A Lev dlev@sulmeyerlaw.com,
11            ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
12           Craig G Margulies Craig@MarguliesFaithlaw.com,
              Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;
13
              Angela@MarguliesFaithlaw.com
14
             Elissa Miller (TR) CA71@ecfcbis.com,
15            MillerTrustee@Sulmeyerlaw.com;C124@ecfcbis.com;ccaldwell@sulmeyerlaw.com

16           Ronald N Richards       ron@ronaldrichards.com, 7206828420@filings.docketbird.com

17           Frank X Ruggier       frank@ruggierlaw.com, enotice@pricelawgroup.com

18           United States Trustee (LA)       ustpregion16.la.ecf@usdoj.gov

19           Timothy J Yoo      tjy@lnbyb.com
20
21 2.         SERVED BY U.S. MAIL:

22 U.S. Bankruptcy Court:
   U.S. Bankruptcy Court
23 Hon. Barry Russell
   255 E. Temple Street, Suite 1668
24 Los Angeles, CA 90012
25
26
27
28

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